10/7 15/2018                    09: 17 Firm                                                                                                                                                                                                                                LraAssus         o4u UoiL                                    rue   ae   wee




                          PAUL& PERKINS




                                                                                                                                                                                     we
                          ATTORNEYS AND GOUNRSBELORE AT LAW


                                                                                                                                                 ar                1                 Au.                                dae           ana
                                                                                                                                                 Monday, October 15, 20181

            VIA FAX; (407) 618-8836

           iomalfions                               FOwa I)                                                               | 4‘
            Progressive Insurance


                                        nm                    me                                          me                                                a                                  *         Asn
                                                    = Your;Insured:!
                                                                                 Wisco                                                                                   toef
                                    Re::                                                                                                               AngelalLMariabSeda1 Borrero)
                                                              oa            oe       ur’                  '           :                                    anrAtArnisr
                                                              Claimt Number:r                                                                          182159152.
                                                              ~_       .         ;™*                      £           :                                PARR      ©       OER
                                                              Policy Number:‘                                                                          909386816
                                                                                                                                                       ¥         am
                                                                                                                                                     _ James Spalding
                                                              ~~  rate                                                                                       OR
                                                              Our Client:
                                                                                                    oa,                                                                mony

                                                                                                      r                                                                  y                                   '

                                                                      a_.t4 hy                                                                         woof. oq anan
                                                              Date of Accident:
                                                              ~   j
                                                                                                                              ,                        October 1, 2018                    ‘




           ALL woe                                            .
           Dear Sir/Madam:.

                                                        ry
                                                                                                                                            ‘a                                                                                              ¥                          awe
                   Please be advised1that I have been\ retainedJ to representtJames; Spalding;for injuries and damages -
                                    waa                  t                 ae                         1                   a                                                      .                                                     4a                 ~                         ,   -   oof       «       eo



           ‘       *   fl               Le      -  aT      ae           ny    .      2 we    -       aa      --+    Te
           he sustained in an accidentt causedj by the negligence)of your insured.. Please provide; me with Angelat
                                   emg


           se 8 ee             oo.         oo     Te » ee.        a ate     1 vee       as     7 mwae
                                                       in effect at the time;of the accident13
                        oe                                                                                        ~
           Maria| Seda Borrero's coverage}informationtol                                     as follows:


                                    A statement,' under oath,, of a' corporatei officer or the insurer'sbclaimsi manager or superintendent,
                                             amc                           ry              a          » —        at                   ar         ie cone                 an,              re         .            pat        -,       Wes «           s       sa   6            .                 .                .       =        .



                                                              mow                  men                                                                 oe                                                           FL.
           setting forthe foltuwing mfuiuationL with togardto-each' known pelie;-ofinsaranco,; izoluding-excese’ or
                      a                                                              .         « 1 ae         A“y                     .                                              MDBiro        By,                                            ae
                                                                                                1
              1   ao.       tes                          ne                                             ~
           umbrella4 insurance:'

            B..z                    =                                           hee                                   ’
           (a)                  The name of the; insurer;:
            oes                 _                         ae            ‘,
                                The name}of each' insured;:
                                                    a
           (b)
            Beok                me   os       7       ato        ae
                                Thehlimits| of the liability coverage;:
                                                                                               ae
           (c)\
            aan                     aoe           .     7      ‘     ae        ,             aon             re               "me            ’    eee        “
                                A statement of any policy or coverage defense that you reasonably believe is available to such
                                                                                                                                       we             oe

           (d)    I                                                                                                               ,                                          )                           '               .                                                 fu                     '                    )                 t


       .                        insurer at the time}of filing such\ statement;,
                                         .                                                    ,
                                    «                              7             .                        “ase                                   a          s                        +                                                                                 °



           rx                   v8           28      ae   eee te,              waa       a      eete ate      ao          tas         1     .    aoe     ”
           (e)                  Information concerning' any noticest of termination,, cancellation or modification\ relating, to these
            mom                 7
                                   ace
                                policiesi
                                        om 4
                                                 insurance;
                                                             a
                                                              of           ae      n         4    eT       .         a
           (£)'                 A certified copyr of any, policy' referred1 to in| the statement;i and\
           v8                   el eamre            am wae          4         #2Wise, Poses,         ene      Te               fee nena
           (g)                  In addition,, the insured,' or her/his insurance agent,3 shall by written statement disclose' the name,
                                and1 coverage,' under oath,' of each| known insurer and shall1 forward] suchl request
                                     -                     .      ~ at             ‘4           .        ,      ea 4   (4              .       s+     =    .
                                                                                                                                               for information\
                                                                                                                                                                                                                                                 nm


                                                                                                                                          _
                                _          .    a«      ey              ae           «  amen          '
                                as5required by this subsection| to all| additional insurers.

                                                                           “                                      cement                                                                                                                    ee
               Thanki you for: your‘ consideration\ and\ cooperationt in this matter,.i If you have! any questions,i
                                oral               1,                                                                                      emccsea®              concn                                       at                   .               aa                                         .            ,                    a.

           oi ener    1 ana     4     a  “a   - ore. _                                                   ~
       please do' not hesitate: to contact my office.ls
             4
             ,




                                                                                                                                                                                                             Paul C. Perkins, Jr., Esq.



                                                        es                           a                                                                                                                   -          _
                 N. Orlando1Ave., Ste.‘ 202.j
                          ee)       ae
             wage,
             711                                                                                                                                                              PAULANDPERKINS.COM                                                                                                      407.540.0122
                   we
                  Manland, FL 32751                                                                                                                                                                                                                                                                   800.736.7623

                                                                                                                                                                                                                                                                                                                               &YIJCJU$
